   Case 19-23195-RG             Doc 6     Filed 07/10/19 Entered 07/11/19 01:01:14                       Desc Imaged
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Form oscccq − osccrcrv27

                                     UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                           Case No.: 19−23195−RG
                                           Chapter: 7
                                           Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Joseph Bertuglia
   341 Pleasant Grove Rd.
   Long Valley, NJ 07853
Social Security No.:
   xxx−xx−0934
Employer's Tax I.D. No.:


                                ORDER TO SHOW CAUSE WHY CASE SHOULD
                               NOT BE DISMISSED FOR DEBTOR'S FAILURE TO
                                MEET CREDIT COUNSELING REQUIREMENTS

    The debtor filed a petition on 7/5/19 and failed to comply with the credit counseling requirements of the
Bankruptcy Code as indicated below,
            The       debtor      joint debtor did not file a Certificate of Credit Counseling with the petition
            and has not requested an exemption from the credit counseling requirement and has not filed
            a request for a temporary waiver of the credit counseling requirement,

                The      debtor      joint debtor filed a Certificate of Credit Counseling after filing the petition that
               indicates that the debtor(s) participated in credit counseling after filing their petition, and has not
               filed a request for a temporary waiver of, or exemption from the credit counseling requirement,

               The      debtor      joint debtor filed a Certificate of Credit Counseling indicating that the debtor(s)
               participated in credit counseling more than 180 before the filing of the petition,

      It is hereby

      ORDERED that the           debtor     joint debtor shall file with the Clerk at the address above, a Certificate of
Credit Counseling indicating that they participated in a credit counseling briefing within the 180 days prior to the
filing of their petition or the case will be dismissed.

      The debtor or debtor's attorney must appear at a hearing to be held before the Honorable Rosemary Gambardella
on:

    Date: July 29, 2019
    Time: 10:00 AM
    Location: Courtroom 3E, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ
07102

to show cause why the case should not be dismissed.

     If all required documents are filed with the Clerk before the hearing date, this Order to Show Cause will be
vacated and no appearance is required.

      Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
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                                      Certificate of Notice Page 2 of 3
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.
      Unless all required documents are filed before the hearing date on this Order to Show Cause, you must appear
at the hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.




Dated: July 8, 2019
JAN: dmc

                                             Rosemary Gambardella
                                             United States Bankruptcy Judge
        Case 19-23195-RG               Doc 6     Filed 07/10/19 Entered 07/11/19 01:01:14                          Desc Imaged
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-23195-RG
Joseph Bertuglia                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jul 08, 2019
                                      Form ID: oscccq                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 10, 2019.
db             +Joseph Bertuglia,   341 Pleasant Grove Rd.,   Long Valley, NJ 07853-3639

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Jul 09 2019 01:30:23     United States Trustee,
                 Office of the United States Trustee,   1085 Raymond Blvd.,   One Newark Center,   Suite 2100,
                 Newark, NJ 07102-5235
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 10, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 8, 2019 at the address(es) listed below:
              John P. Fazzio   on behalf of Debtor Joseph Bertuglia jfazzio@fazziolaw.com,
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
